             Case 2:15-cr-00209-JAM Document 134 Filed 06/17/16 Page 1 of 2


 1
     Jeffrey L. Staniels
 2   Attorney at Law
     216 F Street, No. 98
 3   Davis, CA 95616
 4   Tel: (530) 220-9770
     stanielslaw@dcn.org
 5

 6   Attorney for
     John W. Ortiz
 7

 8
                              IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                    ) NO. 2:15-cr-124 KJM
11                                                ) NO. 2:15-cr-209 GEB
                                                  )
12
             Plaintiff,                           )
                                                  ) STIPULATION AND [PROPOSED]
13          v.                                    ) ORDER MODIFYING CONDITIONS
                                                  ) OF RELEASE AND DROPPING
14                                                ) MATTER FROM CALENDAR
     JOHN W. ORTIZ,                               )
15                                                )
                                                  ) Date: June 17, 2016
                 Defendant.                       ) Time: 2:00 p.m.
16
                                                  ) Judge Hon. ALLISON CLAIRE
17                                                )    Duty Magistrate
18

19
            IT IS HEREBY STIPULATED BY AND BETWEEN Assistant United States
20
     Attorney Christiaan Highsmith, counsel for Plaintiff, and Jeffrey L. Staniels, counsel for
21

22   Defendant John W. Ortiz that the conditions of his pretrial release be modified to
23
     terminate condition No. 15 in Case Number 2:15-cr-209 GEB that he be subject to
24
     electronic monitoring and curfew.
25

26          The court is advised that counsel for both parties conferred with each other and
27
     with the assigned Pretrial Services Officer and all are in agreement that this modification
28
     is appropriate at this time. The court is further advised that the Pretrial Services Officer
                                                   1
             Case 2:15-cr-00209-JAM Document 134 Filed 06/17/16 Page 2 of 2


 1
     confirmed to defense counsel, both orally and by email to both attorneys that Mr. Ortiz
 2
     was doing very will in all the particulars represented to the court in the motion filed on
 3

 4   Mr. Ortiz' behalf.

 5          On that basis the court is requested to sign the proposed order granting the
 6
     requested relief, and upon doing so, to drop this matter from this court's duty calendar for
 7

 8
     June 17, 2016.

 9          IT IS SO STIPULATED.
10

11

12
     DATE: June 16, 2016                /s/Christiaan Highsmith
                                               AUSA Christiaan Highsmith
13                                             Counsel for Plaintiff
14

15   DATE: June 16, 2016                  /s/ Jeffrey L. Staniels
16                                               Jeffrey L. Staniels
                                                 Attorney for John W. Ortiz
17

18

19
                                    [PROPOSED] O R D E R
20

21          IT IS SO ORDERED.
22
                                 By the Court,
23

24

25   Date: June 17, 2016
26

27

28

                                                   2
